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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION

PEYTON GYLAND,

        Plaintiff,
                                              Case No.
-vs-

EXPERIAN INFORMATION
SOLUTIONS, INC., TRANS UNION
LLC, and VYSTAR CREDIT UNION,

        Defendants.

               COMPLAINT AND DEMAND FOR JURY TRIAL

       COMES NOW Plaintiff, PEYTON GYLAND (hereinafter “Plaintiff”), by and

through her undersigned counsel, for her cause of action against Defendants,

EXPERIAN INFORMATION SOLUTIONS, INC. (hereinafter “Experian”),

TRANS UNION LLC (hereinafter “Trans Union”), and VYSTAR CREDIT UNION

(hereinafter “Vystar”) (collectively hereinafter “Defendants”), and in support thereof

respectfully alleges violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681 et

seq. (“FCRA”).

                         PRELIMINARY STATEMENT

       1.     This is an action for actual damages, statutory damages, punitive

damages, costs, and attorney’s fees brought pursuant to the FCRA.

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      2.     Today in America there are three major consumer reporting agencies,

Equifax Information Services, LLC (hereinafter “Equifax”), Trans Union LLC

(hereinafter “Trans Union”), and Experian Information Solutions, Inc. (hereinafter

“Experian”) (hereinafter collectively “CRAs”).

      3.     Consumer reporting agencies that create consumer reports, like

Experian and Trans Union, are charged with using reasonable procedures designed

to ensure the maximum possible accuracy of the information they report. It is not

enough for them to simply parrot information they receive from entities, particularly

where a consumer makes a dispute about information reported.

      4.     When a consumer like Plaintiff disputes information through the

agencies, those disputes are transmitted to the party furnishing the information. The

FCRA demands that each party separately conduct a reasonable investigation of the

consumer’s dispute and correct or delete information they learn to be inaccurate or

cannot otherwise verify.

      5.     The Consumer Financial Protection Bureau has noted, “experience

indicates that [Credit Reporting Agencies] lack incentives and under-invest in

accuracy”. Consumer Fin. Prot. Bureau, Supervisory Highlights Consumer

Reporting Special Edition 21 (Issue 14, March 2, 2017).



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                    JURISDICTION, VENUE, AND PARTIES

       6.     Jurisdiction for this Court is conferred by 28 U.S.C. § 1331, as this

action involves violations of the FCRA.

       7.     Venue is proper for this Court pursuant to 28 U.S.C. § 1391(b)(2), as

this is the judicial district in which a substantial part of the events or omissions giving

rise to the claims occurred.

       8.     Venue is proper in this District as Plaintiff is a natural person and

resident of Duval County, Florida; Vystar’s principal address is in this District; the

violations described in this Complaint occurred in this District; and Defendants

transact business within this District.

       9.     Plaintiff is a “consumer” as defined by 15 U.S.C. § 1681a(c).

       10.    Experian is a corporation with its principal place of business in the State

of California and is authorized to do business in the State of Florida through its

registered agent, C T Corporation System, located at 1200 South Pine Island Road,

Plantation, Florida 33324.

       11.    Experian is a “consumer reporting agency,” as defined in 15 U.S.C. §

1681(f). Experian is regularly engaged in the business of assembling, evaluating,

and disbursing information concerning consumers for the purpose of furnishing

consumer reports, as defined in 15 U.S.C. § 1681(d) to third parties.

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      12.    Experian disburses such consumer reports to third parties under

contract for monetary compensation.

      13.    Trans Union is a corporation with its principal place of business in the

State of Illinois and is authorized to do business in the State of Florida through its

registered agent, Corporation Service Company, located at 1201 Hays Street,

Tallahassee, Florida 32301.

      14.    Trans Union is a “consumer reporting agency,” as defined in 15 U.S.C.

§ 1681(f). Trans Union is regularly engaged in the business of assembling,

evaluating, and disbursing information concerning consumers for the purpose of

furnishing consumer reports, as defined in 15 U.S.C. § 1681(d) to third parties.

      15.    Trans Union disburses such consumer reports to third parties under

contract for monetary compensation.

      16.    Vystar is a corporation headquarter at 76 South Laura Street,

Jacksonville, Florida 32202.

      17.    Vystar is a “furnisher of information” as that term is used in 15 U.S.C

§ 1681s-2.

      18.    Vystar furnished information about Plaintiff to Experian and Trans

Union that was inaccurate.



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                           FACTUAL ALLEGATIONS

      19.    Plaintiff had a credit account with Vystar, partial account number

445379******, as to a credit card (hereinafter “Vystar Account”).

      20.    In or about July 2022, Plaintiff visited a local Vystar branch to pay the

balance and close the Vystar Account.

      21.    In or about November 2022, Plaintiff received a billing statement for

the Vystar Account. Believing the Vystar Account had a zero balance and had been

closed, Plaintiff again visited a local Vystar branch.

      22.    At that time, Plaintiff did not recognize all the charges but proceeded

to pay the entire balance, and Plaintiff requested again for the Vystar Account to be

closed. Since her payment left a zero balance, Plaintiff was advised by the Vystar

employee at the local branch that the Vystar Account would be closed.

      23.    The following month in or about December 2022, Plaintiff again

received a billing statement for the Vystar Account in the amount of approximately

$1,500. Plaintiff again visited a local Vystar branch to dispute the erroneous balance.

      24.    Plaintiff spoke to the branch manager who admitted the error and stated

Plaintiff would be reimbursed. The branch manager further advised Plaintiff that the

Vystar Account would be removed from her credit reports.



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        25.   The following day Plaintiff returned to the local Vystar branch and

spoke with a representative who confirmed the Vystar Account was closed.

        26.   In or about January 2023, Plaintiff received yet another billing

statement for the Vystar Account in the amount of approximately $1,800.

        27.   On or about May of 2023, Plaintiff applied for an Apple credit card and

was denied.

        28.   Unsure as to why she was denied, on or about June 20, 2023, Plaintiff

obtained copies of her Experian and Trans Union credit report. Upon review,

Plaintiff observed the Vystar was being reported as open and with a pay status of

“>Account 90 Days Past Due Date<”. Additionally, the account had a balance of

$309.

        29.   On or about July 10, 2023, Plaintiff reported the inaccurate reporting to

the Consumer Financial Protection Bureau (hereinafter “CFPB”), File ID 230710-

11496281.

        30.   In the CFPB report, Plaintiff detailed the fact that the erroneous balance

of the Vystar Account was appearing on her credit report, and she requested an

investigation into the inaccurate reporting by the CRAs.




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      31.    Under 15 U.S.C. § 1681e (3) of the FCRA, credit reporting agencies,

such as Experian and Trans Union, are required to review certain consumer

complaints about inaccurate information that are originally sent to the CFPB.

      32.    Upon information and belief, Experian and Trans Union failed to

review the CFPB Complaint that Plaintiff filed and continued to report the erroneous

account balance on her credit report.

      33.    On or about September 5, 2023, Plaintiff mailed detailed written

dispute letters to Experian and Trans Union concerning the inaccurate and erroneous

balance being reported. Plaintiff explained the Vystar Account should have a zero

balance and be closed. Plaintiff included an image of her driver’s license, Social

Security card, and recent utility bill to confirm her identity. Plaintiff also included

images of the erroneous credit reporting, a screenshot of her credit denial, and a copy

of her filed Identity Theft Report with the Federal Trade Commission, number

161818502.

      34.    Plaintiff mailed her detailed dispute letters via USPS Certified Mail to

Experian (9589 0710 5270 0635 5351 03) and Trans Union (9589 0710 5270 0635

5351 10).

      35.    Despite confirmation of delivery on September 8, 2023, Plaintiff never

received dispute results in the mail from Experian.

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      36.    Experian failed to do any independent investigation into Plaintiff’s

dispute and never attempted to contact Plaintiff.

      37.    Upon information and belief, Experian notified Vystar of Plaintiff’s

dispute. However, Vystar failed to conduct a reasonable investigation and merely

compared its own erroneous data to that provided by Experian in connection with

the dispute investigation.

      38.    Despite confirmation of delivery on September 9, 2023, Plaintiff never

received dispute results in the mail from Trans Union.

      39.    Trans Union failed to do any independent investigation into Plaintiff’s

dispute and never attempted to contact Plaintiff.

      40.    Upon information and belief, Trans Union notified Vystar of Plaintiff’s

dispute. However, Vystar failed to conduct a reasonable investigation and merely

compared its own erroneous data to that provided by Trans Union in connection with

the dispute investigation.

      41.    On October 16, 2023, Plaintiff attempted to obtain a copy of her Trans

Union credit report and was unable to.

      42.    Due to the continued inaccurate reporting, on or about November 9,

2023, Plaintiff again mailed detailed written dispute letters to Experian and Trans

Union concerning the inaccurate and erroneous balance being reported. Plaintiff

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reiterated the Vystar Account should have a zero balance and be closed. Plaintiff

included an image of her driver’s license, Social Security card, and recent utility bill

to confirm her identity. Plaintiff also included images of the erroneous credit

reporting, a screenshot of her credit denial, an image of the filed CFPB complaint,

and a copy of her filed Identity Theft Report with the Federal Trade Commission,

number 161818502.

      43.    Plaintiff mailed her detailed dispute letters via USPS Certified Mail to

Experian (9405 5112 0620 9385 9292 04) and Trans Union (9405 5112 0620 9385

9752 32).

      44.    Despite confirmation of delivery on November 13, 2023, Plaintiff never

received dispute results in the mail from Experian.

      45.    Experian failed to do any independent investigation into Plaintiff’s

dispute and never attempted to contact Plaintiff.

      46.    Upon information and belief, Experian notified Vystar of Plaintiff’s

dispute. However, Vystar failed to conduct a reasonable investigation and merely

compared its own erroneous data to that provided by Experian in connection with

the dispute investigation.

      47.    Despite confirmation of delivery on November 13, 2023, Plaintiff never

received dispute results in the mail from Trans Union.

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      48.    Trans Union failed to do any independent investigation into Plaintiff’s

dispute and never attempted to contact Plaintiff.

      49.    Upon information and belief, Trans Union notified Vystar of Plaintiff’s

dispute. However, Vystar failed to conduct a reasonable investigation and merely

compared its own erroneous data to that provided by Trans Union in connection with

the dispute investigation.

      50.    On or about December 14, 2023, Plaintiff attempted to obtain updated

copies of her credit reports online but was blocked from receiving a copy from

Experian and Trans Union.

      51.    Upon information and belief, as of the filing of this Complaint,

Experian and Trans Union continue to report negative and inaccurate information on

Plaintiff’s credit report regarding the Vystar Account, and Plaintiff’s damages are

on-going.

      52.    Defendants have never attempted to contact Plaintiff about her disputes,

and she continues to suffer as of the filing of the Complaint with Defendants’ refusal

to conduct a meaningful and thorough investigation into her disputes as it is required

to by law or otherwise make her credit file accurate.




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      53.          Plaintiff continues to suffer as of the filing of this Complaint with

Defendants’ reluctance to conduct a thorough investigation into her disputes or

otherwise make her credit file accurate.

      54.          As a result of the inaccurate credit reporting, Plaintiff has suffered

damages, including, but not limited to:

              i.      Monies lost by attempting to fix her credit. Plaintiff has suffered

                      actual damages in postage paid, wasted ink and paper, and wasted

                      time;

             ii.      Loss of time attempting to cure the errors;

            iii.      Mental anguish, added stress, aggravation, embarrassment,

                      sleepless nights, and other related impairments to the enjoyment of

                      life; Plaintiff is being physically affected by Defendants’ reluctance

                      to fix the errors;

            iv.       Delay in applying for personal loans and lines of credit due to fear

                      of denials from Plaintiff’s lowered credit score; and

             v.       Defamation as Experian and Trans Union published inaccurate

                      information to third party entities.

                                     CAUSES OF ACTION

                                            COUNT I
                              Violation of 15 U.S.C. § 1681e(b) as to
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             Defendant, Experian Information Services, Inc. (Negligent)

       55.     Plaintiff re-alleges and incorporates paragraphs one (1) through fifty-

four (54) above as if fully stated herein.

       56.     Experian violated 15 U.S.C. § 1681e(b) by failing to establish or to

follow reasonable procedures to assure maximum possible accuracy in the

preparation of the credit report and credit files it published and maintains concerning

Plaintiff.

       57.     Experian allowed for a Furnisher to report inaccurate information on an

account.

       58.     Upon information and belief, Experian does not allow its

representatives to call consumers, like Plaintiff, during the dispute process or call

witnesses with knowledge about the dispute.

       59.     Experian violated its own policies and procedures by not deleting the

inaccurate information when Plaintiff provided them with the Federal Trade

Commission Identity Theft Report, which contained sworn testimony of the fraud.

       60.     As a result of this conduct, action, and/or inaction of Experian, Plaintiff

suffered damages, including without limitation, loss of the ability to benefit from

lower interest rates; reduction in credit score; loss of time; financial loss; mental and



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emotional pain stemming from the anguish, humiliation, and apprehension in

applying for credit; and the damages otherwise outlined in this Complaint.

      61.    The conduct, action, and/or inaction of Experian was negligent,

rendering it liable for actual damages in an amount to be determined by the Court

pursuant to 15 U.S.C. § 1681o.

      62.    Plaintiff is entitled to recover costs and attorney’s fees from Experian

in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681o.

      WHEREFORE, Plaintiff, PEYTON GYLAND, respectfully requests that this

Court award actual damages against Defendant, EXPERIAN INFORMATION

SOLUTIONS, INC.; award Plaintiff her attorney’s fees and costs; award pre-

judgment and post-judgment interest at the legal rate; and such other such relief the

Court may deem just and proper.

                                  COUNT II
                    Violation of 15 U.S.C. § 1681e(b) as to
            Defendant, Experian Information Services, Inc. (Willful)

      63.    Plaintiff re-alleges and incorporates paragraphs one (1) through fifty-

four (54) above as if fully stated herein.

      64.    Experian violated 15 U.S.C. § 1681e(b) by failing to establish or to

follow reasonable procedures to assure maximum possible accuracy in the



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preparation of the credit report and credit files it published and maintains concerning

Plaintiff.

       65.   Experian allowed for a Furnisher to report inaccurate information on an

account.

       66.   Upon information and belief, Experian does not allow its

representatives to call consumers, like Plaintiff, during the dispute process or call

witnesses with knowledge about the dispute.

       67.   Experian violated its own policies and procedures by not deleting the

inaccurate information when Plaintiff provided them with the Federal Trade

Commission Identity Theft Report, which contained sworn testimony of the fraud.

       68.   As a result of this conduct, action, and/or inaction of Experian, Plaintiff

suffered damages, including without limitation, loss of the ability to benefit from

lower interest rates; reduction in credit score; loss of time; financial loss; mental and

emotional pain stemming from the anguish, humiliation, and apprehension in

applying for credit; and the damages otherwise outlined in this Complaint.

       69.   The conduct, action, and/or inaction of Experian was willful, rendering

it liable for actual or statutory damages and punitive damages in an amount to be

determined by the Court pursuant to 15 U.S.C. § 1681n.



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      70.     Plaintiff is entitled to recover costs and attorney’s fees from Experian

in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n.

      WHEREFORE, Plaintiff, PEYTON GYLAND, respectfully requests that this

Court award actual or statutory damages and punitive damages against Defendant,

EXPERIAN INFORMATION SOLUTIONS, INC.; award Plaintiff her attorney’s

fees and costs; award pre-judgment and post-judgment interest at the legal rate; and

such other such relief the Court may deem just and proper.

                                   COUNT III
                       Violation of 15 U.S.C. § 1681i as to
            Defendant, Experian Information Services, Inc. (Negligent)

      71.     Plaintiff re-alleges and incorporates paragraphs one (1) through fifty-

four (54) above as if fully stated herein.

      72.     After receiving Plaintiff’s disputes, Experian violated 15 U.S.C. §

1681i by: (1) failing to delete inaccurate information in Plaintiff’s credit file after

receiving notice of such inaccuracies; (2) failing to conduct a lawful reinvestigation;

(3) failing to maintain reasonable procedures with which to filter and verify disputed

information in Plaintiff’s credit file, and (4) relying upon verification from a source

it has to know is unreliable.

      73.     Despite the large amount of information and documentation produced

by Plaintiff demonstrating the fraudulent and inaccurate balance, upon information

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and belief, Experian refused to conduct any independent investigations into

Plaintiff’s disputes and simply transferred the duty to investigate to the furnisher,

Vystar.

      74.    As a result of this conduct, action, and/or inaction of Experian, Plaintiff

suffered damages, including without limitation, loss of the ability to benefit from

lower interest rates; reduction in credit score; loss of time; financial loss; mental and

emotional pain stemming from the anguish, humiliation, and apprehension in

applying for credit; and the damages otherwise outlined in this Complaint.

      75.    The conduct, action, and/or inaction of Experian was negligent,

rendering it liable for actual damages in an amount to be determined by the Court

pursuant to 15 U.S.C. § 1681o.

      76.    Plaintiff is entitled to recover costs and attorney’s fees from Experian

in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681o.

      WHEREFORE, Plaintiff, PEYTON GYLAND, respectfully requests that this

Court award actual damages against Defendant, EXPERIAN INFORMATION

SOLUTIONS, INC.; award Plaintiff her attorney’s fees and costs; award pre-

judgment and post-judgment interest at the legal rate; and such other such relief the

Court may deem just and proper.

                                    COUNT IV
                        Violation of 15 U.S.C. § 1681i as to
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            Defendant, Experian Information Services, Inc. (Willful)

      77.    Plaintiff re-alleges and incorporates paragraphs one (1) through fifty-

four (54) above as if fully stated herein.

      78.    After receiving Plaintiff’s disputes, Experian violated 15 U.S.C. §

1681i by: (1) failing to delete inaccurate information in Plaintiff’s credit file after

receiving notice of such inaccuracies; (2) failing to conduct a lawful reinvestigation;

(3) failing to maintain reasonable procedures with which to filter and verify disputed

information in Plaintiff’s credit file, and (4) relying upon verification from a source

it has to know is unreliable.

      79.    Despite the large amount of information and documentation produced

by Plaintiff demonstrating the fraudulent and inaccurate balance, upon information

and belief, Experian refused to conduct any independent investigations into

Plaintiff’s disputes and simply transferred the duty to investigate to the furnisher,

Vystar.

      80.    As a result of this conduct, action, and/or inaction of Experian, Plaintiff

suffered damages, including without limitation, loss of the ability to benefit from

lower interest rates; reduction in credit score; loss of time; financial loss; mental and

emotional pain stemming from the anguish, humiliation, and apprehension in

applying for credit; and the damages otherwise outlined in this Complaint.

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      81.     The conduct, action, and/or inaction of Experian was willful, rendering

it liable for actual or statutory damages and punitive damages in an amount to be

determined by the Court pursuant to 15 U.S.C. § 1681n.

      82.     Plaintiff is entitled to recover costs and attorney’s fees from Experian

in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n.

      WHEREFORE, Plaintiff, PEYTON GYLAND, respectfully requests that this

Court award actual or statutory damages and punitive damages against Defendant,

EXPERIAN INFORMATION SOLUTIONS, INC.; award Plaintiff her attorney’s

fees and costs; award pre-judgment and post-judgment interest at the legal rate; and

such other such relief the Court may deem just and proper.

                                     COUNT V
                        Violation of 15 U.S.C. § 1681g as to
            Defendant, Experian Information Solutions, Inc. (Negligent)

      83.     Plaintiff re-alleges and incorporates paragraphs one (1) through fifty-

four (54) above as if fully stated herein.

      84.     After receiving Plaintiff’s disputes, Experian violated 15 U.S.C. §

1681g by failing to disclose to Plaintiff all information in Plaintiff’s consumer

background file.




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       85.      Plaintiff provided to Experian appropriate and sufficient proofs of

identity to allow Experian to create a high degree of confidence in knowing the

identity of Plaintiff.

       86.      Despite the sufficient proofs of identification produced by Plaintiff,

upon information and belief, Experian refused to conduct any independent

investigations into Plaintiff’s disputes and provide any documentation and/or results

to Plaintiff.

       87.      As a result of this conduct, action, and/or inaction of Experian, Plaintiff

suffered damages, including without limitation, loss of the ability to benefit from

lower interest rates; reduction in credit score; loss of time; financial loss; mental and

emotional pain stemming from the anguish, humiliation, and apprehension in

applying for credit; and the damages otherwise outlined in this Complaint.

       88.      The conduct, action, and/or inaction of Experian was negligent,

rendering it liable for actual damages in an amount to be determined by the Court

pursuant to 15 U.S.C. § 1681o.

       89.      Plaintiff is entitled to recover costs and attorney’s fees from Experian

in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681o.

       WHEREFORE, Plaintiff, PEYTON GYLAND, respectfully requests that this

Court award actual damages against Defendant, EXPERIAN INFORMATION

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SOLUTIONS, INC.; award Plaintiff her attorney’s fees and costs; award pre-

judgment and post-judgment interest at the legal rate; and such other such relief the

Court may deem just and proper.

                                   COUNT VI
                       Violation of 15 U.S.C. § 1681g as to
             Defendant, Experian Information Solutions, Inc. (Willful)

       90.      Plaintiff re-alleges and incorporates paragraphs one (1) through fifty-

four (54) above as if fully stated herein.

       91.      After receiving Plaintiff’s disputes, Experian violated 15 U.S.C. §

1681g by failing to disclose to Plaintiff all information in Plaintiff’s consumer

background file.

       92.      Plaintiff provided to Experian appropriate and sufficient proofs of

identity to allow Experian to create a high degree of confidence in knowing the

identity of Plaintiff.

       93.      Despite the sufficient proofs of identification produced by Plaintiff,

upon information and belief, Experian refused to conduct any independent

investigations into Plaintiff’s disputes and provide any documentation and/or results

to Plaintiff.

       94.      As a result of this conduct, action, and/or inaction of Experian, Plaintiff

suffered damages, including without limitation, loss of the ability to benefit from

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lower interest rates; reduction in credit score; loss of time; financial loss; mental and

emotional pain stemming from the anguish, humiliation, and apprehension in

applying for credit; and the damages otherwise outlined in this Complaint.

      95.    The conduct, action, and/or inaction of Experian was willful, rendering

it liable for actual or statutory damages and punitive damages in an amount to be

determined by the Court pursuant to 15 U.S.C. § 1681n.

      96.    Plaintiff is entitled to recover costs and attorney’s fees from Experian

in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n.

      WHEREFORE, Plaintiff, PEYTON GYLAND, respectfully requests that this

Court award actual or statutory damages and punitive damages against Defendant,

EXPERIAN INFORMATION SOLUTIONS, INC.; award Plaintiff her attorney’s

fees and costs; award pre-judgment and post-judgment interest at the legal rate; and

such other such relief the Court may deem just and proper.

                                   COUNT VII
                      Violation of 15 U.S.C. § 1681e(b) as to
                     Defendant, Trans Union LLC (Negligent)

      97.    Plaintiff re-alleges and incorporates paragraphs one (1) through fifty-

four (54) above as if fully stated herein.

      98.    Trans Union violated 15 U.S.C. § 1681e(b) by failing to establish or to

follow reasonable procedures to assure maximum possible accuracy in the

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preparation of the credit report and credit files it published and maintains concerning

Plaintiff.

       99.   Trans Union allowed for a Furnisher to report inaccurate information

on an account.

       100. Upon information and belief, Trans Union does not allow its

representatives to call consumers, like Plaintiff, during the dispute process or call

witnesses with knowledge about the dispute.

       101. Trans Union violated its own policies and procedures by not deleting

the inaccurate information when Plaintiff provided them with the Federal Trade

Commission Identity Theft Report, which contained sworn testimony of the fraud.

       102. As a result of this conduct, action, and/or inaction of Trans Union,

Plaintiff suffered damages, including without limitation, loss of the ability to benefit

from lower interest rates; reduction in credit score; loss of time; financial loss;

mental and emotional pain stemming from the anguish, humiliation, and

apprehension in applying for credit; and the damages otherwise outlined in this

Complaint.

       103. The conduct, action, and/or inaction of Trans Union was negligent,

rendering it liable for actual damages in an amount to be determined by the Court

pursuant to 15 U.S.C. § 1681o.

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       104. Plaintiff is entitled to recover costs and attorney’s fees from Trans

Union in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681o.

       WHEREFORE, Plaintiff, PEYTON GYLAND, respectfully requests that this

Court award actual damages against Defendant, TRANS UNION LLC; award

Plaintiff her attorney’s fees and costs; award pre-judgment and post-judgment

interest at the legal rate; and such other such relief the Court may deem just and

proper.

                                   COUNT VIII
                      Violation of 15 U.S.C. § 1681e(b) as to
                      Defendant, Trans Union LLC (Willful)

       105. Plaintiff re-alleges and incorporates paragraphs one (1) through fifty-

four (54) above as if fully stated herein.

       106. Trans Union violated 15 U.S.C. § 1681e(b) by failing to establish or to

follow reasonable procedures to assure maximum possible accuracy in the

preparation of the credit report and credit files it published and maintains concerning

Plaintiff.

       107. Trans Union allowed for a Furnisher to report inaccurate information

on an account.




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      108. Upon information and belief, Trans Union does not allow its

representatives to call consumers, like Plaintiff, during the dispute process or call

witnesses with knowledge about the dispute.

      109. Trans Union violated its own policies and procedures by not deleting

the inaccurate information when Plaintiff provided them with the Federal Trade

Commission Identity Theft Report, which contained sworn testimony of the fraud.

      110. As a result of this conduct, action, and/or inaction of Trans Union,

Plaintiff suffered damages, including without limitation, loss of the ability to benefit

from lower interest rates; reduction in credit score; loss of time; financial loss;

mental and emotional pain stemming from the anguish, humiliation, and

apprehension in applying for credit; and the damages otherwise outlined in this

Complaint.

      111. The conduct, action, and/or inaction of Trans Union was willful,

rendering it liable for actual or statutory damages and punitive damages in an amount

to be determined by the Court pursuant to 15 U.S.C. § 1681n.

      112. Plaintiff is entitled to recover costs and attorney’s fees Trans Union in

an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n.

      WHEREFORE, Plaintiff, PEYTON GYLAND, respectfully requests that this

Court award actual or statutory damages and punitive damages against Defendant,

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TRANS UNION LLC; award Plaintiff her attorney’s fees and costs; award pre-

judgment and post-judgment interest at the legal rate; and such other such relief the

Court may deem just and proper.

                                   COUNT IX
                       Violation of 15 U.S.C. § 1681i as to
                    Defendant, Trans Union LLC (Negligent)

      113. Plaintiff re-alleges and incorporates paragraphs one (1) through fifty-

four (54) above as if fully stated herein.

      114. After receiving Plaintiff’s disputes, Trans Union violated 15 U.S.C. §

1681i by: (1) failing to delete inaccurate information in Plaintiff’s credit file after

receiving notice of such inaccuracies; (2) failing to conduct a lawful reinvestigation;

(3) failing to maintain reasonable procedures with which to filter and verify disputed

information in Plaintiff’s credit file, and (4) relying upon verification from a source

it has to know is unreliable.

      115. Despite the large amount of information and documentation produced

by Plaintiff demonstrating the fraudulent and inaccurate balance, upon information

and belief, Trans Union refused to conduct any independent investigations into

Plaintiff’s disputes and simply transferred the duty to investigate to the furnisher,

Vystar.



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      116. As a result of this conduct, action, and/or inaction of Trans Union,

Plaintiff suffered damages, including without limitation, loss of the ability to benefit

from lower interest rates; reduction in credit score; loss of time; financial loss;

mental and emotional pain stemming from the anguish, humiliation, and

apprehension in applying for credit; and the damages otherwise outlined in this

Complaint.

      117. The conduct, action, and/or inaction of Trans Union was negligent,

rendering it liable for actual damages in an amount to be determined by the Court

pursuant to 15 U.S.C. § 1681o.

      118. Plaintiff is entitled to recover costs and attorney’s fees from Trans

Union in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681o.

      WHEREFORE, Plaintiff, PEYTON GYLAND, respectfully requests that this

Court award actual damages against Defendant, TRANS UNION LLC; award

Plaintiff her attorney’s fees and costs; award pre-judgment and post-judgment

interest at the legal rate; and such other such relief the Court may deem just and

proper.

                                   COUNT X
                       Violation of 15 U.S.C. § 1681i as to
                      Defendant, Trans Union LLC (Willful)



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      119. Plaintiff re-alleges and incorporates paragraphs one (1) through fifty-

four (54) above as if fully stated herein.

      120. After receiving Plaintiff’s disputes, Trans Union violated 15 U.S.C. §

1681i by: (1) failing to delete inaccurate information in Plaintiff’s credit file after

receiving notice of such inaccuracies; (2) failing to conduct a lawful reinvestigation;

(3) failing to maintain reasonable procedures with which to filter and verify disputed

information in Plaintiff’s credit file, and (4) relying upon verification from a source

it has to know is unreliable.

      121. Despite the large amount of information and documentation produced

by Plaintiff demonstrating the fraudulent and inaccurate balance, upon information

and belief, Trans Union refused to conduct any independent investigations into

Plaintiff’s disputes and simply transferred the duty to investigate to the furnisher,

Vystar.

      122. As a result of this conduct, action, and/or inaction of Trans Union,

Plaintiff suffered damages, including without limitation, loss of the ability to benefit

from lower interest rates; reduction in credit score; loss of time; financial loss;

mental and emotional pain stemming from the anguish, humiliation, and

apprehension in applying for credit; and the damages otherwise outlined in this

Complaint.

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       123. The conduct, action, and/or inaction of Trans Union was willful,

rendering it liable for actual or statutory damages and punitive damages in an amount

to be determined by the Court pursuant to 15 U.S.C. § 1681n.

       124. Plaintiff is entitled to recover costs and attorney’s fees from Trans

Union in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n.

       WHEREFORE, Plaintiff, PEYTON GYLAND, respectfully requests that this

Court award actual or statutory damages and punitive damages against Defendant,

TRANS UNION LLC; award Plaintiff her attorney’s fees and costs; award pre-

judgment and post-judgment interest at the legal rate; and such other such relief the

Court may deem just and proper.

                                   COUNT XI
                       Violation of 15 U.S.C. § 1681g as to
                     Defendant, Trans Union LLC (Negligent)

       125. Plaintiff re-alleges and incorporates paragraphs one (1) through fifty-

four (54) above as if fully stated herein.

       126. After receiving Plaintiff’s disputes, Trans Union violated 15 U.S.C. §

1681g by failing to disclose to Plaintiff all information in Plaintiff’s consumer

background file.




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        127. Plaintiff provided to Trans Union appropriate and sufficient proofs of

identity to allow Trans Union to create a high degree of confidence in knowing the

identity of Plaintiff.

        128. Despite the sufficient proofs of identification produced by Plaintiff,

upon information and belief, Trans Union refused to conduct any independent

investigations into Plaintiff’s disputes and provide any documentation and/or results

to Plaintiff.

        129. As a result of this conduct, action, and/or inaction of Trans Union,

Plaintiff suffered damages, including without limitation, loss of the ability to benefit

from lower interest rates; reduction in credit score; loss of time; financial loss; mental

and emotional pain stemming from the anguish, humiliation, and apprehension in

applying for credit; and the damages otherwise outlined in this Complaint.

        130. The conduct, action, and/or inaction of Trans Union was negligent,

rendering it liable for actual damages in an amount to be determined by the Court

pursuant to 15 U.S.C. § 1681o.

        131. Plaintiff is entitled to recover costs and attorney’s fees from Trans

Union in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681o.

        WHEREFORE, Plaintiff, PEYTON GYLAND, respectfully requests that this

Court award actual damages against Defendant, TRANS UNION LLC; award

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Plaintiff her attorney’s fees and costs; award pre-judgment and post-judgment

interest at the legal rate; and such other such relief the Court may deem just and

proper.

                                     COUNT XII
                          Violation of 15 U.S.C. § 1681g as to
                         Defendant, Trans Union LLC (Willful)

       132. Plaintiff re-alleges and incorporates paragraphs one (1) through fifty-

four (54) above as if fully stated herein.

       133. After receiving Plaintiff’s disputes, Trans Union violated 15 U.S.C. §

1681g by failing to disclose to Plaintiff all information in Plaintiff’s consumer

background file.

       134. Plaintiff provided to Trans Union appropriate and sufficient proofs of

identity to allow Trans Union to create a high degree of confidence in knowing the

identity of Plaintiff.

       135. Despite the sufficient proofs of identification produced by Plaintiff,

upon information and belief, Trans Union refused to conduct any independent

investigations into Plaintiff’s disputes and provide any documentation and/or results

to Plaintiff.

       136. As a result of this conduct, action, and/or inaction of Trans Union,

Plaintiff suffered damages, including without limitation, loss of the ability to benefit

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from lower interest rates; reduction in credit score; loss of time; financial loss;

mental and emotional pain stemming from the anguish, humiliation, and

apprehension in applying for credit; and the damages otherwise outlined in this

Complaint.

      137. The conduct, action, and/or inaction of Trans Union was willful,

rendering it liable for actual or statutory damages and punitive damages in an amount

to be determined by the Court pursuant to 15 U.S.C. § 1681n.

      138. Plaintiff is entitled to recover costs and attorney’s fees from Trans

Union in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n.

      WHEREFORE, Plaintiff, PEYTON GYLAND, respectfully requests that this

Court award actual or statutory damages and punitive damages against Defendant,

TRANS UNION LLC; award Plaintiff her attorney’s fees and costs; award pre-

judgment and post-judgment interest at the legal rate; and such other such relief the

Court may deem just and proper.

                                 COUNT XIII
                    Violation of 15 U.S.C § 1681s-2(b) as to
                   Defendant, Vystar Credit Union (Negligent)

      139. Plaintiff re-alleges and incorporates paragraphs one (1) through fifty-

four (54) above as if fully stated herein.



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      140. Vystar furnished inaccurate account information to Experian and Trans

Union, and through Experian and Trans Union to all of Plaintiff’s potential lenders.

      141. Upon information and belief, after receiving Plaintiff’s disputes, Vystar

violated 15 U.S.C. § 1681s-2(b) by (1) failing to fully and properly investigate

Plaintiff’s dispute of the account; (2) failing to review all relevant information

regarding same; (3) failing to accurately respond to Experian and Trans Union; and

(4) failing to permanently and lawfully correct its own internal records to prevent

the re-reporting of the representations to the consumer reporting agency.

      142. Plaintiff provided all the relevant information and documents necessary

for Vystar to have identified that the account balance was fraudulent and inaccurate.

      143. Vystar did not have any reasonable basis to believe that Plaintiff was

responsible for the account balance reported in its representations. It also had

sufficient evidence by which to have verified that Plaintiff was not the responsible

party, including information provided to Vystar by Plaintiff in connection with her

disputes of the account in question. Instead, it knowingly chose to follow procedures

which did not review, confirm, or verify the account belonged to Plaintiff. Further,

even if it would attempt to plead ignorance, it had the evidence and information with

which to confirm and recognize that Plaintiff was a victim of identity theft.



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      144. Vystar violated 15 U.S.C. § 1681s-2(b) by continuing to furnish

inaccurate information to Experian and Trans Union after it had been notified that

the information it was furnishing was inaccurate.

      145. As a result of this conduct, action, and/or inaction of Vystar, Plaintiff

suffered damages, including without limitation, loss of the ability to benefit from

lower interest rates; reduction in credit score; loss of time; financial loss; mental and

emotional pain stemming from the anguish, humiliation, and apprehension in

applying for credit; and the damages otherwise outlined in this Complaint.

      146. The conduct, action, and/or inaction of Vystar was negligent, rendering

it liable for actual damages in an amount to be determined by the Court pursuant to

15 U.S.C. § 1681o.

      147. Plaintiff is entitled to recover costs and attorney’s fees from Vystar in

an amount to be determined by the Court pursuant to 15 U.S.C. § 1681o.

      WHEREFORE, Plaintiff, PEYTON GYLAND, respectfully requests that this

Court award actual damages against Defendant, VYSTAR CREDIT UNION; award

Plaintiff her attorney’s fees and costs; award pre-judgment and post-judgment

interest at the legal rate; and such other such relief the Court may deem just and

proper.

                                    COUNT XIV
                      Violation of 15 U.S.C § 1681s-2(b) as to
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                     Defendant, Vystar Credit Union (Willful)

      148. Plaintiff re-alleges and incorporates paragraphs one (1) through fifty-

four (54) above as if fully stated herein.

      149. Vystar furnished inaccurate account information to Experian and Trans

Union, and through Experian and Trans Union to all of Plaintiff’s potential lenders.

      150. Upon information and belief, after receiving Plaintiff’s disputes, Vystar

violated 15 U.S.C. § 1681s-2(b) by (1) failing to fully and properly investigate

Plaintiff’s dispute of the account; (2) failing to review all relevant information

regarding same; (3) failing to accurately respond to Experian and Trans Union; and

(4) failing to permanently and lawfully correct its own internal records to prevent

the re-reporting of the representations to the consumer reporting agency.

      151. Plaintiff provided all the relevant information and documents necessary

for Vystar to have identified that the account balance was fraudulent and inaccurate.

      152. Vystar did not have any reasonable basis to believe that Plaintiff was

responsible for the account balance reported in its representations. It also had

sufficient evidence by which to have verified that Plaintiff was not the responsible

party, including information provided to Vystar by Plaintiff in connection with her

disputes of the account in question. Instead, it knowingly chose to follow procedures

which did not review, confirm, or verify the account belonged to Plaintiff. Further,

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even if it would attempt to plead ignorance, it had the evidence and information with

which to confirm and recognize that Plaintiff was a victim of identity theft.

      153. Vystar violated 15 U.S.C. § 1681s-2(b) by continuing to furnish

inaccurate information to Trans Union after it had been notified that the information

it was furnishing was inaccurate.

      154. As a result of this conduct, action, and/or inaction of Vystar, Plaintiff

suffered damages, including without limitation, loss of the ability to benefit from

lower interest rates; reduction in credit score; loss of time; financial loss; mental and

emotional pain stemming from the anguish, humiliation, and apprehension in

applying for credit; and the damages otherwise outlined in this Complaint.

      155. The conduct, action, and/or inaction of Vystar was willful, rendering it

liable for actual or statutory damages and punitive damages in an amount to be

determined by the Court pursuant to 15 U.S.C. § 1681n.

      156. Plaintiff is entitled to recover costs and attorney’s fees from Vystar in

an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n.

      WHEREFORE, Plaintiff, PEYTON GYLAND, respectfully requests that this

Court award actual or statutory damages and punitive damages against Defendant,

VYSTAR CREDIT UNION; award Plaintiff her attorney’s fees and costs; award pre-



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judgment and post-judgment interest at the legal rate; and such other such relief the

Court may deem just and proper.

                                    JURY DEMAND

       Pursuant to Federal Rule of Civil Procedure 38, Plaintiff hereby demands a

trial by jury of all issues triable by jury.

                                PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, PEYTON GYLAND, respectfully requests that this

Court award judgment for actual, statutory, compensatory, and punitive damages

against Defendants, EXPERIAN INFORMATION SOLUTIONS, INC., TRANS

UNION LLC, and VYSTAR CREDIT UNION, jointly and severally; attorneys’ fees

and costs; prejudgment and post-judgment interest at the judgment rate; and such

other relief the Court deems just and proper.

       DATED this 21st day of December 2023.

                                                    Respectfully Submitted,

                                                    /s/ Frank H. Kerney, III, Esq.
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